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 1                UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
 2
 3       IN RE: OIL SPILL                 MDL NO. 2179
         BY THE OIL RIG
 4       "DEEPWATER HORIZON"              SECTION:       J
         IN THE GULF OF
 5       MEXICO ON APRIL 20,              JUDGE BARBIER
         2010                             MAG. JUDGE SHUSHAN
 6
 7




12
13                              Volume II
14
              Deposition of RICHARD D. LYNCH, JR.,
15     taken in the Pan American Life Center,
       Bayou Room, 11th Floor, 601 Poydras Street,
16     New Orleans, Louisiana 70130, on Friday,
       May 20, 2011.
17
18
       APPEARANCES:
19
20                BREIT, DRESCHER, IMPREVENTO &
                      WALKER, PC
21                (By: Jeffrey Breit, Esquire)
                  1000 Dominion Tower
22                999 Waterside Drive
                  Norfolk, VA 23510
23                    (Attorneys for MDL 2185
                       Securities plaintiffs
24                     Subclass)
25

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 1     you said it was April 25th; is that
 2     correct?
 3             A.       April 23rd.
 4             Q.       April 23rd and the time of that
 5     communication with Mr. Corser, where he
 6     asked you for data about the static kill,
 7     did you have any other communication with
 8     Mr. Corser?
 9             A.       I believe we possibly said hi to
10     each other in the parking lot once or twice
11     during the course, but that was it.
12             Q.       Okay.      Any substantive
13     discussion whatsoever about what you were
14     doing?
15             A.       No.
16             Q.       How about with Mr. Bly?
17             A.       No.
18             Q.       How about with anybody else
19     associated with the Bly investigation?
20             A.       None.
21             Q.       Okay.      So have you, at any time,
22     ever heard that BP discovered post-incident
23     a hydrocarbon bearing sand that it did not
24     know about pre-incident?
25             MR. GODFREY:

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 1                      Objection as to form.
 2             THE WITNESS:
 3                      Nope.
 4     EXAMINATION BY MR. HILL:
 5             Q.       I'm going the hand you two
 6     documents, sir.           One has been marked as
 7     Exhibit 2361.          The other has been marked as
 8     Exhibit 2362.
 9                      (Whereupon, the documents
10     referred to was marked as Exhibit No. 2361
11     and Exhibit No. 2362, respectively, for
12     identification.)
13             MR. HILL:
14                      I don't have these in the tabs,
15     so I'm going to hand these out.
16     EXAMINATION BY MR. HILL:
17             Q.       Now, sir, I'd like you to look
18     at the one that's been marked as
19     Exhibit 2362, first of all.
20             A.       Okay.
21             Q.       I'd like you specifically to
22     open to page 9.
23             A.       Page 9?       Okay.
24             Q.       Now, the exhibit that we're
25     referring is entitled, Macondo M-252 Cement

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 1     Analysis, BP Investigation Team, with a
 2     date on it of 24 June, 2010; correct?
 3             A.       I see that.
 4             Q.       And on page 9, when you open
 5     that up, there is a chart; is that correct?
 6             A.       Yes, there's a chart.
 7             Q.       All right.         Right above the
 8     chart it says:           The 13.51 PPG sand was the
 9     shallowest hydrocarbon sand provided to the
10     drilling engineering team prior to the
11     cement job.         The 14.1 PPG sand at 17,451
12     feet was identified post-well operations.
13                      Did I read take correctly?
14             A.       You did read that correctly.
15             Q.       And when you look down at the
16     chart, the name of the sand that starts at
17     17,451 feet is M57B; is that correct?
18             A.       That is what's indicated, yes.
19             Q.       And it has a pore pressure of
20     roughly 14.15 PPG; correct?
21             A.       Yes.
22             Q.       Now, I'd like you to look back
23     at the Bly Report, page 54, and I'm
24     going -- we're going to do something of a
25     comparison.

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 1             A.       Well, just a question before we
 2     go there, I do -- just probably need to
 3     indicate that it does say:                 Identified as a
 4     hydrocarbon -- as hydrocarbon June 2010,
 5     not a measured pressure.
 6                      So I'm not sure how they had
 7     that floor pressure determined on this
 8     document.        But I'll just point that out as
 9     fact.
10             Q.       Thank you, sir.
11                      Would you please look at page 54
12     of the Bly Report?
13             A.       54 Bly --
14             Q.       54.
15             A.       Yep.     Got it.
16             Q.       And you can see the brine sand
17     there, 14.1 PPR, starts at 17,684 feet;
18     correct?
19             A.       I see that.
20             Q.       And what you don't see depicted
21     above that is this sand that we looked at
22     on this document, M57B; do you?
23             A.       I don't see that.
24             Q.       In fact, there is no sand there
25     that starts at 17,451 feet; is there?

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 1             A.       I don't see that labelled, no.
 2             Q.       Okay.      Do you have an
 3     understanding of -- for purposes of well
 4     design, when -- how much the MMS requires
 5     you to cement over a hydrocarbon bearing
 6     zone?
 7                      Do you know what the minimum
 8     amount of cement coverage is?
 9             A.       Currently, I'm not sure.
10             Q.       Have you ever heard that the MMS
11     requires you to cement at least 500 feet
12     above the shallowest hydrocarbon zone?
13             A.       I've heard that in my past, yes.
14             Q.       Okay.      On this document, if
15     there were a sand at -- that starts at
16     17,451 feet, and you were to cement
17     500 feet above it, that would be
18     basically -- you can do the math, if you
19     want -- but that would basically puts the
20     top of cement at 16,951 feet; correct?
21             A.       That would be correct math.
22             Q.       Okay.      And that's basically
23     217 feet above that shoe that, in this
24     diagram, is located at 17,168 feet;
25     correct?

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 1             A.       I believe that is correct.
 2             Q.       I want to ask you as the
 3     vice-president of global wells, if you
 4     found out the top of cement is not where it
 5     should have been, okay, but actually top of
 6     cement should have been put over -- the top
 7     of cement was over a shoe, such as we
 8     talked about before, does that cause you to
 9     question whether or not you have actually
10     selected the right casing design?
11             MR. GODFREY:
12                      Objection as to form.
13             MR. HOFFMAN:
14                      Objection to form.
15             THE WITNESS:
16                      Certainly, I'd be looking at all
17     the requirements of the casing design and
18     the cement design as planned.                   I would have
19     to have -- basically, make sure I
20     understood all of the information that we
21     have on the zones.
22                      So, yes, I would -- I would --
23     if I was in that capacity, I would want to
24     understand those things.
25             Q.       Well, let's be more specific.

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 1     If you designed a long string and part of
 2     the -- part of the -- some of the things
 3     that you -- some of the engineering
 4     assumptions that you used in designing that
 5     long string was to account for mitigations,
 6     to counter annular pressure buildup, one of
 7     those mitigations would be having a shoe
 8     that's not cemented across; correct?
 9                      So you don't trap it in the
10     annulus?
11             A.       That could be one of the
12     mitigations, yes.
13             Q.       And so if you -- had BP known
14     about this sand that's identified in this
15     Bly documentation, pre-incident, they
16     would've had to have cemented across that
17     shoe; correct?
18             MR. GODFREY:
19                      Objection as to form.
20             THE WITNESS:
21                      Possibly.
22     EXAMINATION BY MR. HILL:
23             Q.       Okay.      And if they did, doesn't
24     that call into question the use of the
25     casing design that was selected at Macondo?

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 1             MR. GODFREY:
 2                      Objection to form.
 3             THE WITNESS:
 4                      I don't know.
 5     EXAMINATION BY MR. HILL:
 6             Q.       Does it invalidate it in your
 7     opinion as an engineer?
 8             MR. GODFREY:
 9                      Objection as to form.
10             THE WITNESS:
11                      I don't know.          I'd have to get
12     into the scenarios, so --
13     EXAMINATION BY MR. HILL:
14             Q.       Do you have an appreciation for
15     how petro physical reviews are done?
16             A.       Yes, I have an appreciation.
17             Q.       Do you have -- I mean, I'm just
18     trying to find out.             Is that something that
19     you guy do in your organization, as Global
20     Wells?
21             A.       We're not petro physicists, no.
22             Q.       Okay.      But you necessarily have
23     to know where the hydrocarbons zones are in
24     a well in order to effectively design the
25     well; correct?

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 1             A.       I would say that is correct.
 2             Q.       In fact, the location of the
 3      sands, it informs the type of casing you
 4      use; correct?
 5             MR. GODFREY:
 6                      Objection as to form.
 7             THE WITNESS:
 8                      Say that again, please.
 9      EXAMINATION BY MR. HILL:
10             Q.       The location of the hydrocarbon
11      bearing sands, that actually informs the
12      decision of what type of casing an engineer
13      ought to design to be used in the well;
14      correct?
15             MR. GODFREY:
16                      Objection as to form.
17             THE WITNESS:
18                      It can.
19      EXAMINATION BY MR. HILL:
20             Q.       In fact, it tells you where one
21      segment would stop and another section of
22      casing would start; correct?
23             MR. GODFREY:
24                      Same objection.
25             THE WITNESS:

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 1                       Again this, depending on the
 2      scenarios.
 3                       So as I read this document, it's
 4      not clear to me, the statement you made
 5      earlier, this 14.15-pound per gallon sand
 6      at 17,451.        I see nothing in here that
 7      would indicate that it was a hydrocarbon
 8      sand.        So I'm trying to understand all of
 9      these comments a little bit more now.
10      EXAMINATION BY MR. HILL:
11              Q.       On that chart, on page 9, when
12      you looked to the far right, does it not
13      say identified as hydrocarbon June 2010?
14              A.       Which chart are we looking at,
15      now?
16              Q.       I'm looking at Exhibit 2362.
17              A.       Yes, I see that now.             Thank you.
18              Q.       Okay.
19              A.       I just wasn't clear in the
20      sentences above this paragraph.                   I've not
21      seen the document before.                So sorry about
22      that.
23              Q.       I understand.         Let's -- you can
24      set those documents aside for the moment.
25                       So let me ask you:            As the

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 1      vice-president of Global Wells, would you
 2      expect your engineers to be informed about
 3      hydrocarbon, about the location of all
 4      hydrocarbon sands in the production
 5      interval?
 6             MR. GODFREY:
 7                      Objection as to form.
 8             THE WITNESS:
 9                      Yes.      That and many other
10      things.
11      EXAMINATION BY MR. HILL:
12             Q.       Okay.      Let me ask -- stepping
13      back again, looking at things generally.
14      So your organization, going forward, my
15      understanding is that one of the things
16      that it is intended to do, as informed from
17      lessons learned from Macondo, is to
18      standardize, if you will, the
19      decision-making that goes into well design
20      planning; is that correct?
21             A.       In part, that is correct.
22             Q.       Okay.      Now, I understand there's
23      a variety of things.             I'm just trying to
24      find if there's some specific things
25      included in that list.

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